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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:94-cr-01009-MP-AK

CLAUDE LOUIS DUBOC,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 1039, Letter of Inquiry, filed by Defendant

Claude Duboc. In the letter, Mr. Duboc states that there has been no activity on his Motion to

Vacate for twenty months, and he asks the Court to review the status of his motion. Currently,

this matter is before the Magistrate Judge. The Magistrate has informed the Court that

Defendant Duboc’s case is fifth in line to be reviewed and anticipates that a Report and

Recommendation on Mr. Duboc’s Motion to Vacate will be filed in the next thirty to sixty days.



       DONE AND ORDERED this            16th day of January, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
